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                EXHIBIT 5
7/10/2015                                                   Case 2:15-cv-00102-RSM        Document
                                                                              Client Testimonials          94-5 Urquhart
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                                                                                  Practice Areas            Attorneys           The Firm          Careers   Contact   Search




         Client                                                                                                          DIRECTV GROUP
         Testimonials
                                                                                         When I have ‘bet-the-company’ litigation or need novel
         Talent and                                                          solutions to complex legal problems, I call Quinn Emanuel.
         experience mean
         nothing unless                                                                                                T. Warren Jackson
         you win.                                                                                          Vice President and Associate General Counsel
         We win .
         See who we've
         won for.
                                                                                                                   EPSON AMERICA, INC.
                                                                                   We have looked to Quinn Emanuel for our most important
                                                                                IP matters for many years, and we are glad to have done so.
                                                                                Their winning results and commitment to service have been
                                                                                                   everything we could have hoped for.
                                                                                                                              Alf R. Andersen
                                                                                                                         Assistant General Counsel




                                                                                              AMERICAN INTERNATIONAL GROUP, INC.
                                                                                  We have turned to Quinn Emanuel on a number of our most
                                                                               significant and complex litigation matters, involving a broad
                                                                              array of issues in jurisdictions around the world. The firm has
                                                                              consistently responded with superior work, impeccable client
                                                                                                   service and tangible positive results.
                                                                                                                            Michael W. Leahy
                                                                                                                          Deputy General Counsel




                                                                                                     SONY CORPORATION OF AMERICA
                                                                                      We have engaged QE for some of our most important
                                                                               litigation matters and have always been impressed with their
                                                                                                           outstanding representation.
                                                                                                                                Peter Toto
                                                                                                                         Vice President IP Counsel

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  outcome.




                                                                                                                             QUALCOMM
                                                                                     They are what they claim to be. They say they’re trial
                                                                                lawyers, and they are. You can depend on the fact that these
                                                                                   guys will have been in the courtroom multiple times.
                                                                                                                         Don Rosenberg
                                                                                                           Executive Vice President and General Counsel




http://www.quinnemanuel.com/the­firm/client­testimonials/                                                                                                                                     1/3
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                                                                                                                GOOGLE
                                                                                            We have had great victories together.
                                                                                                            Catherine Lacavera
                                                                                                             Head of Litigation




                                                                                                                    IAC
                                                                              IAC looks to Quinn Emanuel for major litigation more than
                                                                         any other law firm, particularly in the IP area. The firm has deep
                                                                         talent at both the partner and associate levels. QE lawyers don’t
                                                                         waste time, are strategic and practical thinkers, know how to try
                                                                                              cases, and get us great results.
                                                                                                                Ed Ferguson
                                                                                                Vice President and Associate General Counsel




                                                                                                                   MBIA
                                                                                The lawyers at Quinn Emanuel have outstanding skill,
                                                                            experience and expertise plus the ability to bridge legal and
                                                                         business considerations in crafting strategies and solutions. We
                                                                                 consider them to be among our ‘go to’ litigators.
                                                                                                              Mitchell Sonkin
                                                                                             Executive Vice President and Chief Portfolio Officer




                                                                                                      CISCO SYSTEMS, INC.
                                                                                Our experience is that Quinn attorneys are skillful and
                                                                           effective advocates who can navigate strategically through a
                                                                           matter to drive it to early and favorable resolution, including
                                                                                      early dismissals in a number of our cases.
                                                                                                               Mallun Yen
                                                                                           Former Vice President, Worldwide Intellectual Property




                                                                                           DEREK QUINLAN’S PRIVATE OFFICE
                                                                              Quinn Emanuel has given us sterling service in an intense
                                                                         period of litigation lasting for several years… There have been a
                                                                            huge number of firms involved for the various parties in this
                                                                            litigation. Quinn Emanuel has outperformed all of them. We
                                                                                   could not have had a better team advising us.
                                                                                                             Gerry Murphy
                                                                                                   Head of Derek Quinlan’s Private Office




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                                                                                  ABC LEARNING CENTRES LTD AND LEND LEASE
                                                                                             CORPORATION LTD
                                                                                   For the better part of a decade public companies I have
                                                                           been involved with have relied on [Quinn Emanuel partners]
                                                                          Michael Mills and Michelle Fox for some of our most important
                                                                             litigation, insurance advice and dispute resolution issues in
                                                                                                   Australia and the USA.
                                                                                                           David Ryan AO
                                                                        Past Director and Chairman of ABC Learning Centres Ltd and current Director of Lend Lease
                                                                                                            Corporation Ltd




                                                                                                      FRANCESCO SCAGLIA
                                                                                 David Gerger [of Quinn Emanuel] saved me when I had to
                                                                                prove my innocence. I could count on him always.
                                                                                                   Francesco Scaglia, after his acquittal




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